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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


DIANE RATCLIFF                                        CIVIL ACTION NO. 17-4776

VERSUS                                                JUDGE CARL J. BARBIER

WINN-DIXIE STORES, INC., ET AL.                       SECTION: “J” (4)

                                                      HON. MAG. JUDGE
                                                      KAREN WELLS ROBY


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            JOINT MOTION AND ORDER TO DISMISS WITH PREJUDICE

       NOW INTO COURT, through undersigned counsel, comes the plaintiff, DIANE

RATCLIFF, and the defendants, WINN-DIXIE STORES, INC. and WINN-DIXIE

MONTGOMERY, LLC, who, on suggesting to the court that all claims and disputes have been

settled and compromised to the satisfaction of all parties, hereby requests that this action be

dismissed with prejudice, with each party to bear its own costs.

                                              Respectfully submitted,

BRUNO & BRUNO                                         BERNARD, CASSISA, ELLIOTT &
                                                      DAVIS, APLC

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                                                      Winn-Dixie Montgomery, LLC
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                                   CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that he has electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, which will send a copy of the foregoing
pleading to all counsel of record by notice of electronic filing. I further certify that I mailed the
foregoing document and the notice of electronic filing by first-class mail to all non-CM/ECF
participants, this 9th day of July, 2018.


                                               ______s/Caroline D. Elliott
                                               CAROLINE D. ELLIOTT
